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            6
                                              UNITED STATES BANKRUPTCY COURT
            7

            8                                 SOUTHERN DISTRICT OF CALIFORNIA

            9     In re:                                             Case No.: 15-07986-CL7
            10    SEAN PAUL NEVETT and,                              Adv. No.: 17-90220-CL
            11
                  SHANNON LEE NEVETT,
                                                                     NOTICE OF EARLY CONFERENCE OF
            12                   Debtors.                            COUNSEL PURSUANT TO LOCAL
                                                                     BANKRUPTCY RULE 7016-2
            13
                  LESLIE T. GLADSTONE, Chapter 7
            14    Trustee,
            15
                                 Plaintiff,
            16
                  v.
            17
                  VSTOCK TRANSFER, LLC, a California
            18
                  limited liability company,
            19
                                 Defendant.
            20
                           PLEASE TAKE NOTICE that pursuant to Local Bankruptcy Rule 7016‐2, all parties 
            21
                  must  comply  with  LBR  7016‐2.    In  this  regard,  a  copy  of  Local  Form  3018,  entitled 
            22
                  Certificate of Compliance with Early Conference of Counsel, is attached hereto.   
            23
                                                                         FINANCIAL LAW GROUP
            24

            25

            26
                  Dated: December 15, 2017                               By:     /s/ Christin A. Batt
            27                                                                 Christin A. Batt, Esq.
                                                                               Attorneys for Leslie T. Gladstone, Trustee
            28     
                                                                     1
FINANCIAL                                                                               IN RE NEVETT, CASE NO. 15-07986-CL7
LAW GROUP                                                                                           ADV CASE NO. 17-90220-CL
                                                                                             Notice of Early Conference of Counsel
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                         ATTACHMENT
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CSD 3018 [03/01/15]
Name, Address, Telephone No. & I.D. No.
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            UNITED STATES BANKRUPTCY COURT
            SOUTHERN DISTRICT OF CALIFORNIA
325 West F Street, San Diego, California 92101-6991

In Re SEAN PAUL NEVETT and
SHANNON LEE NEVETT,
                                                                          BANKRUPTCY NO.   15-07986-CL7
                                                        Debtor.

LESLIE T. GLADSTONE, Chapter 7 Trustee
                                                                          ADVERSARY NO.    17-90220-CL
                                                        Plaintiff(s)

v.
VSTOCK TRANSFER, LLC, a California limited                                Date & Time of Pre-Trial Status Conference:
liability company,                                      Defendant(s)
                                                                          Name of Judge:   Hon. Christopher B. Latham

                     CERTIFICATE OF COMPLIANCE WITH EARLY CONFERENCE OF COUNSEL
                                     [LOCAL BANKRUPTCY RULE 7016-1]


TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

The parties submit the following CERTIFICATE OF COMPLIANCE WITH EARLY CONFERENCE OF COUNSEL requirements
in accordance with Local Bankruptcy Rule 7016-1(c):


A.     PLEADINGS/SERVICE:

       1.       Have all parties been served?                                                                 Yes           No

       2.       Have all parties filed and served answers to the complaint, counter-complaints,               Yes           No
                etc.?



B.     DISCOVERY PLAN:

       1.       Fed. R. Bankr. P. 7026 and Local Bankruptcy Rule 7016-1(a)(3) require the parties to meet within thirty (30)
                days after all defendants have appeared or, in cases having multiple defendants, within forty-five (45) days
                after the first defendant appears. The parties to this case met on    .

       2.       The parties have agreed to make the disclosures required by Fed. R. Bankr. P. 7026(a)(1) by             .

       3.       (Check one)
                 A.     The parties have agreed on the discovery plan attached as Exhibit A.

                                                                        or

                B.       The parties cannot agree on a discovery plan and scheduling order. The attached
                         Exhibit A sets forth the parties’ disagreements and reasons for each party’s position.




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C.     SETTLEMENT OR MEDIATION:

       1.      What is the status of settlement efforts?



       2.      Has this dispute been formally mediated? If so, when?



       3.      Has mediation been discussed with your client? (See Local Bankruptcy Rule 7016- 3.)
                     Plaintiff                        Defendant
                          Yes           No                  Yes           No
       4.      The parties desire to go to voluntary, non-binding mediation. (See Administrative Procedures, Section 5)
               They have reviewed the list of mediators on the court’s website (www.casb.uscourts.gov) or obtained the
               list from the court and have selected the following persons subject to availability as first, second, and third
               choices for mediator:
                        First Choice:
                        Second Choice:
                        Third Choice:
               Parties are requested to notify the courtroom deputy of their preferences at the time a pre-trial status
               conference date is obtained.

D.     READINESS FOR TRIAL:

        1.      When will you be ready for trial in this case?
                     Plaintiff                                               Defendant



        2.      If your answer to the above is more than five (5) months after the summons issued in this case, give reasons
                for further delay.
                         Plaintiff                                           Defendant



        3.      When do you expect to complete your discovery efforts?
                     Plaintiff                                               Defendant



        4.      What additional discovery do you require to prepare for trial?
                      Plaintiff                                              Defendant




E.     TRIAL TIME:

        1.      What is your estimate of the time required to present your side of the case at trial (including rebuttal stage,
                if applicable)?
                         Plaintiff                                          Defendant

        2.      How many witnesses do you intend to call at trial (including opposing parties)?
                     Plaintiff                                               Defendant

        3.      Are any of the witnesses considered expert witnesses (Fed. R. Evid. 702)? If so, the parties agree to identify
                their expert witnesses by
                (See Fed. R. Bankr. P. 7026(a)(2)(C))

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              4.     How many exhibits do you anticipate using at trial?
                          Plaintiff                                                 Defendant



              5.     Are any special accommodations required for witnesses (e.g., assisted listening devices, etc.)? Check one:
                                No                                                 Yes – Please specify:




              6.     Is any special equipment required for presentation of evidence? Check one:
                                No                                                 Yes – Please specify:




F.         ADDITIONAL COMMENTS/RECOMMENDATIONS RE TRIAL: (Use additional page if necessary.)




     Dated:                                                                Dated:



     Firm Name                                                             Firm Name



     By:                                                                   By:
     Name:                                                                 Name:

     Attorney for:   Plaintiff                                             Attorney for:   Defendant

 Local Bankruptcy Rule 7016-1(c) requires this form to be filed no later than seven (7) days after early conference
 of Counsel.



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                                                              EXHIBIT A

1.         DISCOVERY PLAN. The parties jointly propose to the court the following discovery plan: [Use separate paragraphs
           or subparagraphs as necessary if parties disagree.]




           Discovery will be needed on the following subjects: (brief description of subjects on which discovery will be needed)




       All discovery commenced in time to be completed by                 . [Discovery on (issue for early discovery) to be
completed by         .]



           Maximum of           interrogatories by each party to any other part. [Responses due              days after service.]

         Maximum of             requests for admission by each party to any other party. [Responses due                days after
service.]

           Maximum of           depositions by plaintiff(s) and        by defendant(s).

           Each deposition [other than of          ] limited to maximum of           hours unless extended by agreement of
parties.

           Reports from retained experts under Fed. R. Bank. P. 7026(a)(2) due:

           a)      from plaintiff(s) by

           b)      from defendant(s) by

           Supplementations under Fed. R. Bank. P. 7026(e) due (time(s) or interval(s)              ).

2.         OTHER ITEMS. [Use separate paragraphs or subparagraphs as necessary if parties disagree.]

           Plaintiff(s) should be allowed until       to join additional parties and until        to amend the pleadings.

           Defendant(s) should be allowed until          to join additional parties and until         to amend the pleadings.

           All potentially dispositive motions should be filed by        .

           Final lists of witnesses and exhibits under Fed. R. Bank. P. 7026(a)(3) should be due

           a)      from plaintiff(s) by

           b)      from defendant(s) by

       Parties should have            days after service of final lists of witnesses and exhibits to list objections under Fed.
R. Bank. P. 7026(a)(3).

           [Other matters.]




CSD 3018
